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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MALEEHA AHMAD, et al.,                        )
                                              )
                      Plaintiffs,             )
                                              )
       v.                                     )       No. 4:17-cv-2455 CDP
                                              )
CITY OF ST. LOUIS, MISSOURI,                  )
                                              )
                      Defendant.              )

                     JOINT MEMORANDUM IN RESPONSE TO COURT ORDER

       In response to this Court’s order of April 29, 2021, directing the parties to “file a joint

memorandum setting out mutually agreeable dates for the trial of this matter” and that “[t]he

joint memorandum shall include an estimate of how many days this case will require for trial,”

ECF No. 199, the parties submit the following:

       1. The parties estimate that this case will require ten days for trial.

       2. The parties mutually agree to this matter being tried as the Court’s schedule permits
            any time beginning on August 30, 2021 or any date thereafter except September 16

            through September 20, but defendant may be obliged to request to call some

            witnesses out of order due to police vacations during Labor Day week (September 6-

            10).




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Respectfully submitted,


/s/ Anthony E. Rothert
Anthony E. Rothert, #44827MO              /s/ Robert H. Dierker
Jessie Steffan, #64861MO                  Robert H. Dierker, #23671MO
ACLU of Missouri Foundation               Associate City Counselor
906 Olive Street, Suite 1130              City Hall
St. Louis, Missouri 63101                 1200 Market Street, Room 314
(314) 652-3114                            St. Louis, MO 63103
arothert@aclu-mo.org                      Tel: (314) 622-3361
jsteffan@aclu-mo.org                      Fax: (314) 622-4956
                                          dierkerr@stlouis-mo.gov
Gillian R. Wilcox, #61278MO
406 West 34th Street, Suite 420           Attorney for Defendant
Kansas City, Missouri 64111
ACLU of Missouri Foundation
(816) 470-9938
gwilcox@aclu-mo.org
Attorneys for Plaintiffs




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